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                      Exhibit B
23 U.S.C. § 402 Note (Safe Streets and Roads
      for All Grant Program § (d)(3))
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